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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations                        .
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                                    UNITED STATES DISTRICT COUR1
                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                            L~
                                                                                                           CLERK US DISTRICT COURT
                                                                                                        SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                        BY             /} /A    DEPUTY

             UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE                              ti
                                                                     (For Revocation of Probation or Supervised Release)
                                                                     (For Offenses Committed On or After November 1, 1987)
                               V.
            WILLIAM ALBERT ZACHOLL (!)
                   aka Billy Bones                                      Case Nuniber:           3:10-CR-01223-WQH

                                                                     Jeremy D Warren
                                                                     Defendant's Attorney
REGISTRATION NO.               19069-298
•-
THE DEFENDANT:
lZI admitted guilt to violation of allegation(s) No.        3-6
                                                          -------------------------
D was found guilty in violation ofallegation(s) No.       _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilty.

Accordin2ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                 Nature of Violation

             3-6                  nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control
                                  Act)




     Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                     July 27 2020
                                                                     Date of Imposition of Sentence



                                                                     HON.    LIAM Q. HA
                                                                      UNITED STATES D
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DEFENDANT:                WILLIAM ALBERT ZACHOLL (1)                                               Judgment - Page 2 of 5
CASE NUMBER:              3:10-CR-01223-WQH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Four (4) months




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •    at - - - - - - - - - A.M.                         on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       •    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •    on or before
       •    as notified by the United States Marshal.
       •    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




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     DEFENDANT:             WILLIAM ALBERT ZACHOLL (1)                                                   Judgment - Page 3 of 5
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                                                SUPERVISED RELEASE
Upon release from imprisonment, the ·defendant will be on supervised release for a term of:
Twenty-four (24) months

                                            MANDATORY CONDITIONS
I. The defendant must not commit another federal, state or local crime.
2. The defendant must not unlawfully possess a controlled substance.
3. The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
   controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
   two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
   than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.
          •The above drug testing condition is suspended, based on the court's determination that the defendant poses a low
           risk of future substance abuse. (check if applicable)
4.    •
      The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. (check if applicable)
5. IZIThe defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    • The defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
   20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
   the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. ( check if
   applicable)
7.    •
      The defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.




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 DEFENDANT:                   WILLIAM ALBERT ZACHOLL (I)                                                             Judgment - Page 4 of 5
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of the defendant's supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant's behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant's conduct and condition.

I. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
   hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
   office or within a different time frame.                  ·

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
   about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
   as instructed.                                                                                                     ·

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
   getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
   anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
   uoanticipated circmnstances, the defendant must notify the probation officer within 72 hours of becoming aware of a change or
   expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
   permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
   view.

7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
   time employment, uoless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
   defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
   probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
   due to uoanticipated circmnstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
   change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant
   knows someone has been convicted of a felony, they must not knowingly commuoicate or interact with that person without
   first getting the permission of the probation officer.

9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.

10. The defendant must not own, possess, or have access to a frrearm, anununition, destructive device, or dangerous weapon (i.e.,
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such
    as nuochakus or tasers).

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential hmnan source or
    informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
    officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
    The probation officer may contact the person and confrrm that the defendant notified the person about the risk.

13. The defendant must follow the instructions of the probation officer related to the conditions of supervision.




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DEFENDANT:              WILLIAM ALBERT ZACHOLL (I)                                            Judgment - Page 5 of 5
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                                 SPECIAL CONDITIONS OF SUPERVISION


     1. You shall submit to search of your person, property, residence, adobe, cellular phone, electronic devices
        or vehicle, conducted by a probation officer, or any law enforcement officer, at any time of the day or
        night, with or without a warrant, and with or without reasonable or probable cause. Failure to submit to a
        search may be grounds for revocation; you shall warn any other residents that the premises may be
        subject to searches pursuant to this condition.

     2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer, and
        comply with both United States and Mexican immigration law requirements.

     3. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     4. Participate in a program of drug or alcohol abuse treatment, including drug testing and counseling, as
        directed by the probation officer. Allow for reciprocal release of information between the probation
        officer and the treatment provider. May be required to contribute to the costs of services rendered in an
        amount to be determined by the probation officer, based on ability to pay.

II




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